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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

General Motors LLC
                                                        Plaintiff,
v.                                                                   Case No.:
                                                                     1:23−cv−00887
                                                                     Honorable John J.
                                                                     Tharp Jr.
The Partnerships and Unincorporated Associations
Identified on Schedule A, et al.
                                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 17, 2023:


       MINUTE entry before the Honorable John J. Tharp, Jr:No defendant having
objected, the plaintiff's motion for default judgment [50] is granted. Enter default
judgment order. Civil case terminated. Mailed notice(air, )




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